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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT


GRADUATION SOLUTIONS LLC,        )
                                 )
     Plaintiff,                  )
                                 )     Case No. 17-cv-1342 (VLB)
v.                               )
                                 )
ACADIMA, LLC and ALEXANDER       )
LOUKAIDES,                       )
                                 )
     Defendants.                 )



 DEFENDANT LOUKAIDES’ RENEWED MOTION FOR JUDGMENT AS A MATTER
  OF LAW OR ALTERNATIVELY FOR A NEW TRIAL PURSUANT TO F.R.C.P. 50
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                                        INTRODUCTION

       Under Rule 50(b) of the Federal Rules of Civil Procedure, Defendant

Loukaides renews his motion for judgment as a matter of law. In the alternative, if

the Court does not grant judgment in favor of Mr. Loukaides on any portion of this

case, Mr. Loukaides requests a new trial pursuant to Rule 50(b). In a separate filing,

Mr. Loukaides will also be asking for a new trial under Rule 59(a).1                         As Mr.

Loukaides has consistently argued, he was not on notice that Plaintiff was

pursuing money damages related to GradShop.com – a website that, for years,

operated without any complaint from Plaintiff. As a result, the Court should enter

judgment in Mr. Loukaides’s favor on all claims related to GradShop.com.

       Further, Plaintiff did not present sufficient evidence to support each of the

elements of each of the causes of action against Mr. Loukaides in this case and,

accordingly, the Court should enter judgment in Mr. Loukaides’s favor on each of

Plaintiff’s claims in this case.

                                         BACKGROUND

       On June 24, 2019, following the close of Plaintiff’s case in chief, Defendant

Loukaides moved for judgment as a matter of law under Rule 50(a). See ECF No.

140 at 150:9-16; ECF No. 115. In that motion, Mr. Loukaides sought judgment as a

matter of law on all counts. The Court denied that motion orally on June 25, 2019.



1
  Mr. Loukaides will be filing a motion for new trial under Rule 59(a) based on the multiple errors of
law in the jury instructions and curative instructions and the erroneous submission of the case to
the jury as it relates to GradShop.com. Although both motions request a new trial, and there is some
overlap between the errors claimed in each, the motions are different and independent. This motion
addresses the weight and insufficiency of evidence at trial, which dictate that the Court should grant
judgment as a matter of law in Mr. Loukaides’s favor or, in the alternative, a new trial. The other
motion, which Mr. Loukaides will file on or before the deadline of August 9, 2019, will address legal
and evidentiary errors that entitle Mr. Loukaides to a new trial of Plaintiff’s claims.


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ECF No. 141 at 78:2-3, 19-22; 79:16; 81:12-13; 82:2-4. During argument on that

motion, the Court and Plaintiff acknowledged that Plaintiff’s Amended Complaint

did not encompass all of the claims on which it was suddenly seeking to recover

at the trial:




ECF No. 141 at 71:12-17. The Court granted Plaintiff’s oral motion to amend its

complaint to conform to the evidence, ECF No. 118, however, to date, Plaintiff has

not filed such an amendment.

       Plaintiff’s counsel also acknowledged that the jury instructions submitted

with the Joint Pretrial Memorandum “were not perfect by any stretch of the

imagination” and that he “saw some things that definitely needed to be tightened

up.” ECF No. 141 at 74:6-9. Many of these jury instructions were not corrected

before the case was submitted to the jury2 and the jury returned a verdict against

Mr. Loukaides for $1,615,000.00 in actual damages and $1,615,000.00 in punitive

damages. ECF No. 124.

                                    LEGAL STANDARD




2
 The erroneous jury instructions are not the subject of this motion and will be addressed in Mr.
Loukaides’s forthcoming Motion for New Trial based on legal and evidentiary issues.


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      Under Rule 50(a), judgment as a matter of law is appropriate “[i]f a party has

been fully heard on an issue during a jury trial and the court finds that a reasonable

jury would not have a legally sufficient evidentiary basis to find for the party on

that issue.” Fed. R. Civ. P. 50(a). The decision to grant a Rule 50(a) motion is within

a district court’s discretion: “[W]hile a district court is permitted to enter judgment

as a matter of law when it concludes that the evidence is legally insufficient, it is

not required to do so.” Unitherm Food Sys., Inc. v. Swift-Eckrich, Inc., 546 U.S. 394,

405 (2006). For purposes of aiding appellate review, district courts are encouraged

to “‘refrain from granting a [Rule 50(a)] motion for judgment as a matter of law

[during a trial] despite the fact that it would be possible for the district court to do

so.’” Id. (quoting 9A Wright & Miller, Federal Practice & Procedure § 2533, at 319

(2d ed. 1995)). Instead, the preferable approach is for the district court to obtain a

jury verdict and “‘then pass on the sufficiency of the evidence on a post-verdict

motion [i.e., a motion brought under Rule 50(b)].’” Id. (quoting 9A Wright & Miller,

supra, § 2533, at 319). Under Rule 50(b), a party may renew after trial a motion for

judgment as a matter of law brought during trial. Id. at 400.

                                     ARGUMENT

I.    Defendant Loukaides is Entitled to Judgment as a Matter of Law on any Claim
      Based on GradShop.com.

      In its Second Amended Complaint, the only websites that Plaintiff alleges

“contain elements that are the same as or substantially similar to original works of

authority within of [sic] the GS Website that are the subject of the Copyright

Registration” are “the Acadima Website and the Graduation Apparel Website.” ECF

No. 31 at ¶135. Similarly, the only website that Plaintiff alleges “caused damages



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to Plaintiff” with respect to its trade dress claim is “the Acadima Website.” Id. at ¶

154.   Importantly, the reference to “the Acadima Website and the Graduation

Apparel Website” are capitalized and singular. The capitalization is important

because it makes it evident that each is referring to a previously defined term from

earlier in the Complaint. The fact that they are singular is important because it

makes it clear that each is referring to only the single website as previously

defined.

       Gradshop.com is not identified in any count in the Amended Complaint.

Indeed, Matthew Gordon, Plaintiff’s own CEO agreed that the Amended Complaint

does not seek money damages from GradShop.com:




ECF No. 113 at 215:2-4. Nevertheless, Mr. Gordon continued to testify that, in his

opinion, GradShop.com is included in the term “the Acadima website.” This

testimony is disingenuous and belies the plain language of the Complaint — which

failed to give any notice to Mr. Loukaides that Plaintiff in this case sought damages

based on GradShop.com. The Amended Complaint expressly limits the meaning of

“the Acadima website” to the website www.acadima.com. In fact, Plaintiff went out

of its way to define the term “the Acadima Website” in the Complaint:




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      Second Am. Compl. ¶ 11 (highlighting added). Moreover, Plaintiff also

separately and distinctly defined a different term to use when referring to

GradShop.com:




Id. at ¶ 12. Indeed, Plaintiff carefully distinguished and defined terms for each of

the websites it discussed in its Second Amended Complaint:




Id. at ¶ 19. And finally, where Plaintiff intended to make allegations related to more

than one of the websites allegedly owned or operated by either of the defendants,

Plaintiffs also carefully defined a term for that as well:




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Id. Plaintiff cannot limit the meaning of a term in the body of the Complaint only to

be permitted by the Court during trial to expand a defined term when Plaintiff uses

the same term later in the Complaint. The Plaintiff’s decision to selectively and

consciously not include “the Gradshop Website” or “Defendants’ Websites” in

certain counts in the Complaint was intentional and is controlling. Words and

defined terms must have their specified meaning in a Complaint, or the adversarial

process will become completely unwieldy and unjust.

       Mr. Loukaides did not have notice that Plaintiff intended to pursue such

claims at trial and, accordingly, it is appropriate for the Court to enter judgment as

a matter of law in Mr. Loukaides’ favor regarding the Gradshop Website on any

count where the Gradshop Website is not expressly included.3 Stephen v. Hanley,

376 Fed. Appx. 158, 159–60 (2d Cir. 2010) (Affirming district court’s decision to deny

plaintiffs leave to introduce a new theory of liability through jury instructions

because “Plaintiffs’ fourth amended complaint did not give defendants notice that

plaintiffs intended to pursue a ‘duty to intervene’ theory of liability, and thus

plaintiffs’ proposed jury instruction would have introduced a new claim to the




3
  For the avoidance of doubt, this applies to Counts 1-5 of the Second Amended Complaint. See,
Count 1, ¶ 135 (allegations only against “the Acadima Website and the Graduation Apparel
Website”); Count 2, ¶¶ 150, 154 (allegations only against “The Acadima Website”); Count 3, ¶
161 (allegations only against “The Acadima Website”); Counts 4 and 5, ¶¶ 172, 179 (realleging
the “violations of Plaintiff’s rights under the Lanham Act” which were limited to allegations
against “The Acadima Website” in Counts 2 and 3).


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case”). The Second Circuit in Stephen explained that “[i]n essence, plaintiffs were

seeking leave to amend their complaint as trial was about to commence.” Id.; see

also Hutter v. Countrywide Bank, N.A., 41 F. Supp. 3d 363, 371 (S.D.N.Y. 2014), aff’d

in part, vacated in part, remanded, 710 Fed. Appx. 25 (2d Cir. 2018) (denying motion

to amend pleading after discovery because “a defendant that received notice in the

complaint of the asserted claims and the grounds on which they rest ‘may conduct

. . . trial preparation accordingly and is not required, based on the plaintiff’s

subsequent conduct in litigation, to anticipate future claims that a plaintiff might

intend to pursue.’”)

      At oral argument on Mr. Loukaides’ original Motion for Judgment as a Matter

of Law, Plaintiff relied heavily on the fact that each of the causes of action in the

Amended Complaint “include a repeat and reallege paragraph.” ECF No. 141 at

77:2-10. Specifically, the allegations Plaintiff claims were realleged within the

causes of action, such that Gradshop.com was included in the cause of action, are

12, 19-25, 32, 33, 40-42, 44, 47, 48, 67-69, 71, 76, 92, and 94. Id. at 76:16-18. The

problem with this argument is that these paragraphs, without more, do not

sufficiently state claims related to GradShop.com because they do not cover all of

the elements of each of the causes of action. For example, for its Lanham Act trade

dress claim, Plaintiff alleges only that “[b]ecause the Acadima Website infringes

on the GS Trade Dress, Defendants have caused damage to Plaintiff.” ECF No. 31

at ¶ 154. The Amended Complaint is completely devoid of any similar allegation

that the GradShop.com website also caused damage to Plaintiff and, as discussed

below, damages are an essential element to a Lanham Act claim. Similarly, the




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Amended Complaint fails to allege that the GradShop.com website contains

elements that are the same as or substantially similar to original works belonging

to Plaintiff or that the GradShop.com website infringed on any copyright belonging

to Plaintiff. And because Plaintiff based its state law CUTPA and unfair competition

claims on “each of Defendants’ violations of Plaintiff’s rights under the Lanham

Act,” id. at ¶¶ 172 and 179, the failure to sufficiently plead a Lanham Act violation

is fatal to these claims as well with respect to GradShop.com.

       The error in this point cannot be overstated. Without providing notice of its

intention to seek damages for allegations related to GradShop.com, Plaintiff put on

a confusing assortment of comparisons and evidence with the hopes of confusing

the jury into believing the Mr. Loukaides was responsible for everything. Not so.

This case involves, and notably does not involve, several websites and the

ownership and history of each is important. The vast majority of the damages

sought in this case related to GradShop.com4, but the claims against that site were

not raised before trial and, in any event, are substantially weaker than the claims

related to Acadima.com. The confusion created by this approach is highlighted by

Plaintiff’s witness’s own testimony:




4
 See generally Argiz testimony, ECF No. 113 at 91-120 (referencing “gradshop.com” four times on
direct examination and not mentioning “Acadima.com” a single time.)


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       In sum, the Court should overturn the jury’s verdict and find in favor of

Defendant Loukaides as it pertains to the domain name GradShop.com. Thereafter,

because the jury was incorrectly informed that GradShop.com was in the case, a

new trial will be necessary, and Plaintiff should not be permitted to make any

arguments of alleged improper activity by GradShop.com.

II.    Defendant Loukaides is Entitled to Judgment on Counts 2 through 6
       Because Plaintiff Neither Pled nor Presented any Evidence from Which a
       Reasonable Jury Could Find that the Corporate Veil Should Be Pierced to
       Hold Mr. Loukaides Personally Liable for the Alleged Conduct of Acadima,
       LLC.

       As an initial matter, with the exception of the claim for copyright

infringement which Mr. Loukaides acknowledges allows for vicarious liability5, any

claim against Mr. Loukaides as an individual would require Plaintiff to pierce the

corporate veil.

       Plaintiff’s own witnesses testified that the owner of the GradShop.com

domain was Acadima, LLC:




5
  The jury did not reach the question of vicarious liability with respect to Plaintiff’s copyright
infringement claim because the jury found that Mr. Loukaides himself “copied elements of Plaintiff’s
Website on GradShop.com or Acadima.com.” ECF No. 124, ECF pg. 8. As discussed in more detail
below, see Section III.A infra, Plaintiff presented no evidence at trial that Mr. Loukaides directly
copied its websites. In fact, evidence elicited through Plaintiff’s witness on cross examination made
clear that Frank Seviane – and not Mr. Loukaides – had complete control over Acadima, LLC, which
Plaintiff acknowledges was the owner and operator of GradShop.com and Acadima.com. See
Seviane testimony, ECF No. 140 at 35:19-367; 37:25-38:6; 38:11-15; 79:15-21.


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ECF No. 113 at 98:1-20. To be clear, when asked “who is the owner of

gradshop.com?” Plaintiff’s own witness offered Plaintiff’s only direct evidence on

this point – he answered “Acadima, LLC.” Id. at 98:18-20; see also Direct Testimony

of Frank Seviane, ECF No. 140 at 35:19-36:7 (explaining that Acadima LLC

controlled gradshop.com and acadima.com along with other websites)6. This



6
  Later in his testimony, Mr. Seviane did testify that Mr. Loukaides owned “the domains” personally,
ECF No. 140 at 40:5-12, however this testimony is not credible. Not only is it contradictory to his
earlier testimony, see, e.g., id. at 35:19-36:7, but it is also self-serving in that Mr. Seviane was clearly
trying to avoid his own personal liability. Furthermore, this testimony is based solely off something


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testimony is also consistent with all of the allegations in the Amended Complaint

relate to websites allegedly owned by Acadima, LLC. See e.g., ECF No. 31 at ¶¶ 11,

12, 19, 23, 28, 31, 33, 35, 37.

       As such, Plaintiff’s counsel’s argument that it was asserting “a direct cause

of action against him [Mr. Loukaides], because there’s evidence of ownership of

both GradShop.com and Acadima.com,” ECF No. 141 at 77:14-16, was not

consistent with the evidence elicited at trial. Similarly, the Court was incorrect

when it stated, “that there’s evidence that he [Mr. Loukaides] owned the website

before Mr. Seviane’s involvement in his enterprise, [and] that he was possibly the

sole owner and operator of the website.” See, id. at 83:3-5. There simply is no such

evidence, and Plaintiff will not be able to point to any such evidence in its

opposition brief. To the extent Plaintiff alleged Mr. Loukaides’s ownership at all, it

was only through his ownership of Acadima, LLC. Thus, to be held liable in his

personal capacity, Plaintiff would first have to pierce the corporate veil of Acadima,

LLC, which Plaintiff did not do in this case.

       “Ordinarily     the   corporate      veil     is   pierced   only   under     exceptional

circumstances, for example, where the corporation is a mere shell, serving no

legitimate purpose, and used primarily as an intermediary to perpetuate fraud or

promote injustice.” Cohen v. Meyers, 175 Conn. App. 519, 540–41 (2017) (quoting

Angelo Tomasso, Inc. v. Armor Construction & Paving, Inc., 187 Conn. 544, 557,



Mr. Seviane allegedly saw through discovery in Mr. Loukaides’s divorce case. This is complete
hearsay and should be given no weight. It is illogical that that the jury could have possibly found
this testimony more persuasive than Plaintiff’s own employee who gave detailed, live testimony
that all documentation supported that Acadima, LLC was the owner of both GradShop.com and
Acadima.com.


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447 A.2d 406 (1982)). The instrumentality rule and the identity rule are used by

courts to determine whether it is proper to pierce the corporate veil. Naples v.

Keystone Bldg. & Dev. Corp., 295 Conn. 214, 232 (2010). The instrumentality rule

requires proof of three elements: “(1) Control, not mere majority or complete stock

control, but complete domination, not only of finances but of policy and business

practice in respect to the transaction attacked so that the corporate entity as to this

transaction had at the time no separate mind, will or existence of its own; (2) that

such control must have been used by the defendant to commit fraud or wrong, to

perpetrate the violation of a statutory or other positive legal duty, or a dishonest or

unjust act in contravention of [the] plaintiff’s legal rights; and (3) that the aforesaid

control and breach of duty must proximately cause the injury or unjust loss

complained of.” Id.

      The identity rule, on the other hand, has been stated as follows: “If the

plaintiff can show that there was such a unity of interest and ownership that the

independence of the corporations had in effect ceased or had never begun, an

adherence to the fiction of separate identity would serve only to defeat justice and

equity by permitting the economic entity to escape liability arising out of an

operation conducted by one corporation for the benefit of the whole enterprise.”

Id.

      It is undisputed that all of the allegations in the Second Amended Complaint

relate to websites allegedly owned by Acadima, LLC. See, e.g., Second Am. Compl.

¶¶ 11, 12, 19, 23, 28, 31, 33, 35, 37. Indeed, Plaintiff already has secured a default

against Acadima, LLC based on the allegations in the Second Amended Complaint.




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Nevertheless, Plaintiff seeks to hold Mr. Loukaides personally responsible but has

blatantly failed to plead, let alone prove, any theory of veil piercing as required to

hold Mr. Loukaides responsible for the actions of Acadima, LLC. Although a

plaintiff need not pierce the corporate veil to hold an individual liable under the

Copyright Act, the same is not true for the remaining counts. See e.g., Lifeguard

Licensing Corp. v. Ann Arbor T-Shirt Co., LLC, 15 CIV. 8459 (LGS), 2018 WL

3364388, at *3 (S.D.N.Y. July 9, 2018) (requiring plaintiff to pierce the corporate veil

for Lanham Act Claims); Jannetty Racing Enterprises, Inc. v. Site Dev. Techs., LLC,

CV054004820S, 2006 WL 410973, at *5 (Conn. Super. Ct. Jan. 31, 2006) (striking

CUTPA claim against individual where Plaintiff failed to adequately allege a

“piercing the corporate veil count[]” against the individual defendant); Cohen v.

Meyers, 175 Conn. App. 519, 543 (2017) (affirming trial court’s holding that Plaintiff

failed to establish facts to pierce the corporate veil and hold a company’s president

individually liable for numerous claims, including a CUTPA claim and unjust

enrichment claim).

      Plaintiff did not (and cannot) produce any evidence at trial that Mr. Loukaides

had complete “dominion and control” over Acadima, LLC or any other company

allegedly involved in the activity complained of by Plaintiff in this case. Indeed, the

only evidence of control that came out in Plaintiff’s case was that the current owner

of Acadima, LLC — Frank Seviane — was solely in control of Acadima, LLC and

that Mr. Loukaides had nearly zero involvement in the company for the short five

months of his ownership of the company:




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Seviane testimony, ECF No. 140 at 79:15-21; see also id. at 159:24-160:1 (Acadima,

LLC formed in October 2015); 79:22-80:1 (Acadima, LLC sold to Mr. Seviane in

March 2016).

      With respect to GradShop.com, for the reasons discussed above that

website is not relevant in this case, but, in any event, Plaintiff similarly offered no

evidence indicating Mr. Loukaides had complete “dominion and control” over that

website either. Accordingly, Plaintiff has not presented any evidence from which a

reasonable juror could pierce the corporate veil under the “instrumentality rule.”

      Similarly, Plaintiff has failed to elicit any evidence in its case in chief

indicating that there was such a “unity of interest and ownership that the

independence of the corporations had in effect ceased or had never begun, an

adherence to the fiction of separate identity would serve only to defeat justice.”

See Naples, 295 Conn. 214, 232.        Indeed, from Mr. Seviane’s testimony, it is

undisputed that Mr. Seviane ran and operated Acadima, LLC and that Acadima,

LLC was sold to Mr. Seviane. ECF No. 140 at 35:19-367; 37:25-38:6; 38:11-15; 79:15-

21. It is possible that Plaintiff could have made a claim to pierce the corporate veil



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as to Mr. Seviane, but there has been no evidence that the same should be true

against Mr. Loukaides. Because Plaintiff failed to present any evidence whatsoever

related to piercing the corporate veil as to Mr. Loukaides, and because Plaintiff did

not assert a veil piercing claim, the Court should grant judgment as a matter of law

in Mr. Loukaides’ favor on Counts 2, 4, 5, and 6 of the Amended Complaint and

overturn the jury verdict.

III.   The Court Should Grant Judgment on all Counts in Favor of Mr. Loukaides
       Because Plaintiff Failed to Present Sufficient Evidence on All Elements of All
       Causes of Action.

       Plaintiff prevailed on five of the six causes of action in this case. Because

the evidence presented by Plaintiff was insufficient as to at least one element in

each of the causes of action, the Court should grant judgment in favor of Mr.

Loukaides, or in the alternative should order a new trial.

       A.    Plaintiff Failed to Present a Legally Sufficient Basis to Find that
             Plaintiff Met Its Burden on All Elements of Its Copyright Infringement
             Claim (Count I).

       Pursuant to Rule 50(a), Alex Loukaides respectfully renews his motion for

judgment as a matter of law that he is not liable for copyright infringement.

       The Copyright Act grants copyright protection for “original works of

authorship fixed in any tangible medium of expression,” including “pictoral,

graphic, and sculptural works.” 17 U.S.C. § 102(a)(5). The “sine qua non of

copyright is originality,” and all works must be original in order to receive copyright

protection. Feist Publications, Inc. v. Rural Telephone Serv. Co., Inc., 499 U.S. 340,

345 (1991). The Supreme Court has recognized that in order to be “original,” the

work in question must have been “independently created by the author (as

opposed to copied from other works),” and it must “possess [ ] at least some


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minimal degree of creativity.” Id. “While certain elements of a web site would

clearly fall within the subject matter of copyright, including the text of the page,

software code, and certain creative graphical elements, the elements that create

the look and feel of a web site may fall completely outside the subject matter of the

Copyright Act.” Conference Archives, Inc. v. Sound Images, Inc., 2010 WL 1626072,

at *12 (W.D. Pa. Mar. 31, 2010) (citations omitted).

      Indeed, in a case similar to this where one promotional award company sued

another for copyright and trade dress infringement based on its website, a district

court in this Circuit held that the “compilation of elements” on a website is

“unprotectable” under the Copyright Act. Crown Awards, Inc. v. Trophydepot, 2003

WL 22208409, at *13 (E.D.N.Y. Sept. 3, 2003). Specifically, the court in Crown

Awards, held that “[t]he mere use of a three frame design, the use of a small picture

of the catalogue on the upper right side and the use of promotional language

stating ‘SAME DAY SHIPPING [-] In Stock For Immediate Delivery’ are insufficient

to create an ‘original’ compilation of elements that forms the basis for copyright

protection.” Id.

      Plaintiff’s evidence presented in this case, just like the allegations in the

plaintiffs’ complaints in Crown Awards and Conference Archives, do not support

the jury’s finding “that Defendant Loukaides copied elements of Plaintiff’s Website

on GradShop.com or Acadima.com.” ECF No. 124, ECF pg. 8. Importantly, the jury

did not find that Mr. Loukaides was vicariously liable for copyright infringement.

Instead, the jury found that Mr. Loukaides himself “copied elements of Plaintiff’s

Website.” Id. Absolutely no evidence of this was presented by Plaintiff.




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Furthermore, even if Plaintiff did show that Mr. Loukaides personally “copied

elements of Plaintiff’s website,” the elements on which Plaintiff presented evidence

are not protectable under the law, and the few instances of alleged direct copying

of words are limited to Acadima.com. See, e.g. Albanese testimony, ECF No. 113 at

87:10-88:2 (Mr. Alabanese explaining that for Acadima.com (and not for

GradShop.com) he “took screenshots of pretty much every page that was a direct

copy of graduationsolutions.com.”); 111:3-6 (Mr. Albanese testifying that

Acadima.com copied Plaintiff’s website’s claim that they outfit over 500,000

graduates a year); 111:12-112:22 (Mr. Albanese testifying that a portion of the

Acadima.com website includes the same typographical error as one found on

Plaintiff’s website); 133:4-135:17 (Mr. Albanese reading a paragraph of content

from Plaintiff’s website and Acadima.com and testifying that there are “substantial

similarities”). Indeed, counsel for Mr. Loukaides has scoured the record and not

found any similar evidence of any verbatim or near verbatim copying of language

on the GradShop.com website.

      Furthermore, although the jury did not reach the issue of whether Mr.

Loukaides was vicariously liable for copyright infringement, it was erroneous for

the Court to submit this case to the jury on that issue. An individual can only be

held personally liable for copyright infringement of a corporation if the plaintiff

proves the individual personally participated in the acts constituting infringement

by the corporate defendant. Samet & Wells, Inc. v. Shalom Toy Co., Inc., 429 F.

Supp. 895, 903–04 (E.D.N.Y. 1977), aff’d, 578 F.2d 1369 (2d Cir. 1978); see also

Graham Hanson, 2011 WL 744801, at *5; Lechner, 2005 WL 612814, at *6. While



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some cases have noted that it is not necessary to pierce the corporate veil where

an individual personally participates in the infringing activity, other cases have

equated this to a veil-piercing analysis. See e.g., NetTech Sols., L.L.C. v.

ZipPark.com, 01 CIV. 2683 (SAS), 2001 WL 1111966, at *12 (S.D.N.Y. Sept. 20, 2001)

(“A plaintiff may pierce the corporate veil in an action for copyright infringement

and unfair competition where it is established that the corporate officer is a

‘moving,   active   conscious    force   behind    [the   defendant    corporation’s]

infringement.’”).

      “One infringes contributorily by intentionally inducing or encouraging direct

infringement, and infringes vicariously by profiting from direct infringement while

declining to exercise the right to stop or limit it.” Metro-Goldwyn-Mayer Studios

Inc. v. Grokster, Ltd., 545 U.S. 913, 914 (2005); see also Shapiro, Bernstein & Co. v.

H.L. Green Co., 316 F.2d 304, 307 (2d Cir. 1963) (holding that vicarious infringement

requires that defendant possess the right and ability to supervise the infringing

conduct); Matthew Bender & Co., Inc. v. W. Pub. Co., 158 F.3d 693, 707 n.22 (2d Cir.

1998) (stating that “plaintiffs cannot be subject to liability for vicarious

infringement because they cannot control the conduct of the direct infringer”).

      According to the testimony offered by Plaintiff at trial, as well as its Second

Amended Complaint, Acadima LLC (and not Alex Loukaides) owns and operates

Acadima.com and GraduationApparel.com.7 See Section II, supra (discussing

website ownership and control with reference to piercing the corporate veil);




7This same argument holds true for all websites referenced in the Second
Amended Complaint. See e.g. ECF No. 31 at ¶¶ 12, 23, 31, 33, 35, 37.


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Second Am. Compl., ECF No. 31 at ¶¶ 11, 28. And, as the Court is aware, Plaintiff

has a default judgment against Acadima, LLC, the alleged owner of all of the

allegedly infringing sites. Thus, in order for the jury to find Mr. Loukaides

personally liable for such infringement, Plaintiff would have had to present

evidence that Mr. Loukaides “personally participated in the acts constituting

infringement,” Graham Hanson Design LLC v. 511 9th LLC, 10 CIV. 5493 KMW, 2011

WL 744801, at *5 (S.D.N.Y. Feb. 24, 2011) (quoting Lechner v. Marco–Domo

Internationales Interieur GmbH, No. 03 Civ. 5664, 2005 WL 612814, at *6 (S.D.N.Y.

Mar. 14, 2005)). It did not, and no such evidence exists.

      Plaintiff failed to present sufficient evidence to show that Mr. Loukaides

personally participated in any acts allegedly constituting infringement by Acadima,

LLC, or that he had the requisite level of control to be held vicariously or

contributorily liable for the actions of Frank Seviane and Acadima, LLC. Not only

did Plaintiff fail to produce evidence that Mr. Loukaides “personally participated in

the acts constituting infringement,” Graham Hanson Design, 2011 WL 744801, at

*5, Plaintiff presented evidence directly to the contrary:




Seviane testimony, ECF No. 140 at 79:15-21.



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      The testimony by Kristoff Albanese was simply that the Acadima.com

website and certain other sites, in his non-expert opinion, copied elements of

Plaintiff’s website. See generally, ECF No. 113 at 49-155. He then testified that

based on a series of third-party services, namely WhoIs and SSLShopper, he

believed there was some connection between those sites and Mr. Loukaides. See,

e.g. id. at 86:4-12 and 99:12-17 (noting that “who-is information” showed websites

as registered to Mr. Loukaides, and it also showed Mr. Loukaides as the

“administrative contact”).    Importantly, Mr. Albanese also testified that WhoIs

registrant information does not show ownership, and in fact can be used to mask

ownership. Id. at 95:7-9 (noting that “you can register things on behalf of other

companies”) (emphasis added). Neither Mr. Albanese nor any other witness

testified that Mr. Loukaides personally participated in this alleged copying. See

generally, ECF No. 113 Pgs. 49-162. In fact, there is no reliable evidence whatsoever

that Mr. Loukaides ever had any control over the two websites in question, and

there is no reliable evidence whatsoever that Mr. Loukaides personally participated

in any sort of copying activity. The Plaintiff simply failed to meet its burden on this

issue, and this case should not have been submitted to the jury on any of the claims

in the case.

      Moreover, the testimony of Frank Seviane made clear that, at all times, even

before he ultimately purchased Acadima LLC from Mr. Loukaides, he — Frank

Seviane — was completely running Acadima LLC. See ECF No. 140 at 37:25-38:6;

78:20-22 (Mr. Seviane explaining that he did everything for Acadima, LLC and

referring to himself as “chief cook and bottle washer.” Mr. Seviane also made clear




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that Mr. Loukaides had no operational role in Acadima LLC. See Id. at 79:15-21.

There is no evidence whatsoever against Mr. Loukaides on this point, and the

Plaintiff has embarked on a misguided, baseless crusade against Mr. Loukaides

where all of the evidence points directly to Mr. Seviane.

      Plaintiff failed to present any, let alone sufficient, evidence such that a

reasonable jury could find, by a preponderance of the evidence, that Mr. Loukaides

personally, vicariously, or contributorily infringed Plaintiff’s copyrights with

respect to Plaintiff’s website.   This is particularly the case with respect to

GradShop.com as Plaintiff did not present any evidence of copying. Therefore,

judgment of law should be entered in Mr. Loukaides’ favor on its Copyright

Infringement claim (Count I).

      B.     Plaintiff’s Trade Dress Infringement Claim (Count II) is Preempted by
             the Copyright Act, and Plaintiff Failed to Present Evidence of Specific
             Trade Dress Elements that would Escape Preemption.

      As an initial matter, Plaintiff’s Lanham Act claim is preempted to the extent

a remedy is available under the Copyright Act. See 17 U.S.C. § 301(a). While on its

face § 301 does not expressly limit remedies under other federal statutes, “courts

have long limited application of the Lanham Act so as not to encroach on [federal]

copyright interests.” Conference Archives, Inc. v. Sound Images, Inc., 2010 WL

1626072, at *12 (W.D. Pa. Mar. 31, 2010) (quoting 1 Nimmer on Copyright § 1.01[D][2]

at 1–83); see also, e.g. Dastar Corp. v. Twentieth Century Fox Film Corp., 539 U.S.

23, 34, (2003). Thus, where copyright laws provide an adequate remedy, any

remedy under the Lanham Act is preempted. See Dastar Corp., 539 U.S. 23, 34

(“Thus, in construing the Lanham Act, we have been careful to caution against




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misuse or over-extension of trademark and related protections into areas

traditionally occupied by patent or copyright.”); see also Conference Archives,

2010 WL 1626072, at *12 (“Claims for copyright infringement under the Copyright

Act, and claims for Trade Dress Infringement under the Lanham Act are mutually

exclusive. A Plaintiff cannot receive a remedy for both. If an adequate remedy

exists for the Copyright Act, no remedy lies for the Lanham Act claim.”).

      Moreover, “[i]f a work was granted copyright registration, this serves as

strong evidence that the subject matter falls within the Copyright Act, and cannot

be protected by trade dress.” Id. (citing 2 Nimmer on Copyright § 7.16 (discussing

the significance of copyright registration). In order for a trade dress claim based

on a website to withstand preemption, especially where the website has been

granted copyright registration, “the trade dress elements must be specifically

identified   and   painstakingly selected.”     Id. (quoting J. Scott Anderson,

PAINSTAKING SEMANTICS: SELECTING WEBSITE TRADE DRESS ELEMENTS TO

SURVIVE A COPYRIGHT, 7 John Marshall Review Intellectual Property Law Review

97, 111 (2007)).

      Here,    Plaintiff   offered    testimony       at   trial   that   its   website,

graduationsource.com, was granted copyright registration as early as 2012 or

2014. On the first day of trial, Kristoff Albanese testified that that Plaintiff was

issued its first copyright for its website in 2014:




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Testimony of Kristoff Albanese, ECF No. 113 at 159:14-18. Plaintiff’s CEO, Matthew

Gordon, later testified that Plaintiff had outside counsel “copyright[] the -- coding

and the -- all the content in 2012:




      To the extent any of Plaintiff’s claims are based on its registered copyrights,

Plaintiff cannot recovery for any alleged infringement of those elements under the

Lanham Act. Further, because Plaintiff failed to present evidence specifically

identifying any painstakingly selecting elements that it alleged were protectable as

trade dress, as opposed to protected by copyright, Plaintiff’s claims should not

have been submitted to the jury and the jury’s verdict for Lanham Act violations

should be overturned as preempted by the Plaintiff’s copyright claims.



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      C.     Plaintiff Failed to Present a Legally Sufficient Basis to Find that
             Plaintiff Met Its Burden on All Elements of Its Trade Dress Infringement
             Claim (Count II).

      If the Court somehow does not find that the Lanham Act trade dress claim is

preempted, then pursuant to Rule 50(a), Alex Loukaides respectfully renews his

motion for judgment as a matter of law that he is not liable for trade dress

infringement because Plaintiff failed to meet its burden on all elements of its trade

dress infringement claim.

      To prevail on a claim of trade dress infringement based on a website

allegedly copying the “look and feel” of another website, a plaintiff must show “(1)

that its trade dress is inherently distinctive or has acquired secondary meaning;

(2) that its trade dress is nonfunctional; and (3) that defendant’s product creates a

likelihood of consumer confusion.” Ingrid & Isabel, 70 F. Supp. 3d 1105, 1136-37

(N.D. Cal., 2014). Plaintiff presented no evidence on the first element of a “look and

feel” trade dress infringement claim.         Plaintiff offered evidence specifically

claiming its trade dress is functional, completely negating the second element. See

ECF No. 113 at 70:19-71:6; 93:1-6; 188:8-17 (testimony by Mr. Albanese and Mr.

Gordon, discussed more thoroughly below, explaining the functionality of

allegedly infringed website elements). And, the limited evidence presented on the

third element was insufficient for a reasonable jury to conclude that Plaintiff proved

a likelihood of confusion based on the “look and feel” by a preponderance of the

evidence.   See generally, Kovel testimony, ECF No. 113 at 162-180 (testifying

generally that some purchasers from other websites would call Plaintiff’s customer

support, but not testifying that this confusion was caused by infringing any

protectable elements of Plaintiff’s website).


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         1. Plaintiff presented no evidence that the “look and feel” of Plaintiff’s
            website is “inherently distinctive” or that its website has acquired a
            secondary meaning.

      “A mark or dress is distinctive when it identifies the particular source of the

product or distinguishes it from other products.” Id. at 1137. “Correspondingly, a

product’s trademark or trade dress acquires a secondary meaning when the

purchasing public associates the mark or dress with a single producer or source

rather than with the product itself.” The Supreme Court has held that “design, like

color is not inherently distinctive.” Wal–Mart Stores, Inc. v. Samara Bros., Inc., 529

U.S. 205, 212 (2000). Accordingly, the Plaintiff here could not prevail on its trade

dress infringement claim based solely on the design, layout, or color of its website.

Such “design” aspects are simply not inherently distinctive. Thus, in order to

prevail on this claim, Plaintiff would have had to prove by a preponderance of the

evidence that its website’s look and feel is distinctive through a secondary

meaning it has acquired. It did not and no such evidence exists.

      With regard to a website, “[t]he ‘true test’ for distinctiveness is whether the

look and feel causes the public to associate the look and feel of the web site with

the Plaintiff's web site. Conference Archives 2010 WL 1626072, at *6 (citing SG

Services Inc. v. God's Girls Inc., 2007 WL 2315437, at *10 (C.D. Cal. May 9, 2007).

One commentator has written that in order for a website’s look and feel to receive

protection under the Lanham Act, the design must be so “arbitrary that ‘one can

assume without proof that [the trade dress] automatically will be perceived . . . as

an identifier of the source of the product.’” Lisa M. Byerly, Look And Feel Protection

Of Web Site User Interfaces; Copyright Or Trade Dress?, 14 Santa Clara Computer

& High Tech. L.J. 221, 253 (1998).


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       Plaintiff offered no evidence of distinctiveness, either inherent or through an

acquired secondary meaning. Mr. Albanese did not offer any testimony to that

regarding distinctiveness of look and feel or secondary meaning. Instead, Mr.

Albanese only testified to the creation of the website and that he believes it had

been copied by the Defendants. See generally, ECF No. 113 Pgs. 49-162.                              He

testified that Graduation Solutions spent a lot of money developing its site and

testing its features, see, e.g., id. at 110:5-128, but he never testified that any of this

resulted in a site that was inherently distinct from other graduation apparel

websites. He testified that that there were unique elements of the website such as

“widgets” being on the left-hand side, and promotions offered within these

widgets, see id. at 117:9-16, but he never testified that these elements identify

GraduationSource.com as the particular source of goods or that these elements

distinguish this website from other websites. And, in any event, as stated above,

even if there was such testimony, the Supreme Court has held that design is not

inherently distinctive and so these design elements would be insufficient to

support a jury finding for Plaintiff on the trade dress claim. Wal–Mart Stores, 529

U.S. at 212 (“design, like color is not inherently distinctive.”).




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  This testimony is exemplary of the overarching issues in Plaintiff’s case, i.e. trying to protect that
which is not protectable. Mr. Albanese discusses testing a grid on a product purchase page that
“allows for multiple sizes to be ordered at a single time.” First, this grid has absolutely no secondary
meaning. Even Mr. Albanese did not go so far as to testify that customers would see this grid and
instantly know they must be shopping on Plaintiff’s website. Second, this grid is completely
functional. Without the grid, the website cannot function in the same way and customer’s cannot
place orders in the same way. The benefit provided by this element is the utility it offers. Third, and
finally, to the extent this could be protectable as copyrighted code, for the reasons discussed
earlier, this claim under the Lanham Act is preempted.


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      With regard to secondary meaning, trade dress acquires secondary meaning

when the “purchasing public associates the [alleged trade dress] with a single

producer or source rather than with the product itself.” Ingrid & Isabel, 70 F. Supp.

3d at 1136-37. Plaintiff offered no evidence in this case that online purchasers of

caps and gowns associate any protectable elements of trade dress within Plaintiff’s

website with Plaintiff itself as supplier of those goods. Indeed, no evidence was

presented that Plaintiff’s website is so distinct that when consumers see it, without

seeing the name of the site, they recognize it as being the site of

GraduationSource.com.

      Here, however, Plaintiff presented evidence through Mr. Albanese that when

Graduation Solutions felt its website was being copied it reacted by changing its

website. ECF No. 113 at 110:18-20. Specifically, at one point during his testimony,

Mr. Albanese was testifying about a side-by-side comparison that was being

displayed and he explained that part of the reason there were noticeable visual

differences between the sites is because Graduation Solutions made changes to

its design when it believed it was being copied:




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Id. at 110:13-20. This testimony is completely contrary to a claim that Plaintiff’s

websites had acquired a secondary meaning as required to prevail on a trade dress

infringement claim. See FC Online Mktg., Inc. v. Burke’s Martial Arts, LLC, 14-CV-

3685 SJF SIL, 2015 WL 4162757, at *10 (E.D.N.Y. July 8, 2015) (Plaintiff’s allegation

that “look and feel” of its website serves to identify it as the source of its services

is belied by the fact that Plaintiff has other websites that do not contain the features

described as protectable trade dress). If it had acquired a secondary meaning,

Plaintiff would not have been willing or able to change the look-and-feel of its

website without risking causing its own consumer confusion. In other words, the

fact that a later iteration of Plaintiff’s website omitted design elements that it now

contends make its website distinct shows that those elements were not distinct in

the first place and that the website’s look and feel did not have secondary meaning.

See id.

      Finally, the only evidence of confusion Plaintiff presented was the testimony

of Joann Kovel. See generally, ECF No. 113 at 162-180. Ms. Kovel testified generally

that from 2014 to 2017 she had seen a trend of an increasing number of purchasers

from other websites calling Plaintiff’s customer support regarding orders placed

GradShop.com. See id. at 170:1-4; 173:4-14. Notably, Ms. Kovel did not testify that

she had any knowledge that this perceived confusion was caused by infringing any

protectable elements of Plaintiff’s website.     Plaintiff utterly failed to identify a

specific protectable element of its website and then causally connect that element

with any actual or likely consumer confusion. This failure is fatal to Plaintiff’s

Lanham Act Claim.




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      Moreover, Ms. Kovel, the only witness who testified regarding confusion,

only testified as to GradShop.com. See ECF No. 113 at 170:1-4. But, as discussed

above, Plaintiff did not raise a Lanham Act claim related to GradShop.com, see

Section I supra, and so any analysis of Plaintiff’s Lanham Act claim is necessarily

limited to Acadima.com. To the extent the Court somehow finds that any portion

of Plaintiff’s Lanham Act claim related to Acadima.com is not preempted by the

Copyright Act, Plaintiff would have had to show specifically identified, protectable

elements caused actual consumer confusion between Acadima.com and Plaintiff’s

website. See Ingrid & Isabel, 70 F. Supp. 3d at 1136-37 (consumer confusion is an

essential element of a website trade dress claim under the Lanham Act). And there

was absolutely zero evidence presented to the jury related to consumer confusion

between Academia.com and Plaintiff’s website. See generally Kovel testimony,

ECF No. 113 at 162-180. Accordingly, Plaintiff’s failure to offer any evidence or

testimony that consumers confused specific elements of the Acadima website for

Plaintiff’s website based on confusingly similar “look and feel” is fatal to Plaintiff’s

claim for trade dress infringement as to Acadima.com.

      Accordingly, Plaintiff did not present sufficient evidence to demonstrate, by

a preponderance of the evidence, that Mr. Loukaides personally infringed on

Plaintiff’s trade dress in the form of Plaintiff’s website’s look and feel, and therefore

judgment as a matter of law should be entered in favor of Mr. Loukaides on the

trade dress infringement claim.

          2. Plaintiff presented evidence specifically claiming its trade dress is
             functional.




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      “Trade dress protection extends only to design features that are

nonfunctional.” Ingrid & Isabel, 70 F. Supp. 3d at 1137. “A product feature is

functional, and cannot serve as a trademark [or trade dress], if it is essential to the

use or purpose of the article or if it affects the cost or quality of the article.’” Yurman

Design, Inc. v. PAJ, Inc., 262 F.3d 101, 116 (2d Cir. 2001).

      Here, Plaintiff presented evidence that many of the elements of its website

that it believes are entitled to trade dress protection are functional in that they are

intentionally and carefully designed to help search engine ranking and to influence

consumer engagement and interaction with the site. See ECF No. 113 at 70:19-71:6

(explaining that certain elements of the webpage are “extremely important . . . for

when ranking the pages [on Google]”). Indeed, Mr. Albanese testified in great detail

that even seemingly minor design elements are extensively tested at great expense

in order to offer enhanced functionality of the site. Id. at 93:1-6; see also, testimony

of Matthew Gordon at id. at 188:8-17 (explaining that a design element “like a button

that’s off to the right-hand side, I mean, that literally could be hundreds of

thousands of dollars of research on why that button is there and why one

ecommerce site is successful and another one is not.”). As just one example of

this, Mr. Albanese testified that a small icon next to the words “in stock and ready

to ship” was functional in that it increased the number of clicks on that “in stock

and ready to ship” link. Id. at 93:1-20. Mr. Albanese and Mr. Gordan both made

clear that they believe the design elements allegedly copied by Defendants affected

the quality of the website and, accordingly, under Second Circuit precedent, that

makes those design elements functional and not protectable as trade dress.




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      Moreover, courts have held that “the fact that a trade dress is composed

entirely of commonly used or functional elements might suggest that the dress

should be regarded as unprotectable or ‘generic,’ to avoid tying up a product or

marketing idea.” FC Online Mktg., 2015 WL 4162757, at *27. Here, the elements that

Plaintiff alleges to be protected trade dress amount to nothing more than the layout

of commonly used, functional elements on an ecommerce website and the

website’s color scheme. The fact that the elements offer similar promotions or are,

in the case of Acadima.com, in the same general location, is of no consequence.

The generic layout of a website and the sales promotions offered within simply are

not protectable trade-dress in this case.

      Plaintiff did not present sufficient evidence to demonstrate, by a

preponderance of the evidence, that Mr. Loukaides infringed on Plaintiff’s trade

dress because the design elements allegedly infringed are functional. Therefore,

for this independent reason, the Court should grant judgment as a matter of law in

favor of Mr. Loukaides on the trade dress infringement claim.

      D.    Plaintiff Failed to Present a Legally Sufficient Basis to Find that
            Plaintiff Met Its Burden on All Elements of Its Connecticut Unfair Trade
            Practices Act Claim or Common Law Unfair Competition Claim Counts
            IV and V).

      In its Second Amended Complaint, Plaintiff alleged that “[e]ach of

Defendants’ violations of Plaintiff’s rights under the Lanham Act constitutes

violations of Plaintiff’s rights under the Connecticut Unfair Trade Practices Act,”

and “[e]ach of Defendants’ violations of Plaintiff’s rights under the Lanham Act

constitutes violations of Plaintiff’s rights under Connecticut common law of unfair

competition.” ECF No. 31 at ¶¶ 172, 179. Accordingly, for the same reasons Plaintiff



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failed to elicit sufficient evidence regarding its Lanham Act claims, Plaintiff also

failed to elicit sufficient evidence with respect to its Connecticut Unfair Trade

Practices claim and common law unfair competition claim.          Similarly, just as

Plaintiff’s Lanham Act claim is preempted by the Copyright Act, see Section III.B

supra, Plaintiff’s Copyright Act claim preempts Plaintiff’s CUTPA claim as well.

Frontier Group, Inc. v. Northwest Drafting & Design, Inc., 493 F. Supp. 2d 291, 301

(D. Conn. 2007). Judgment as a matter of law should enter in Mr. Loukaides’ favor

on the CUTPA claim and the unfair competition claim.

      E.     Plaintiff Failed to Present a Legally Sufficient Basis to Find that
             Plaintiff Met Its Burden on All Elements of Its Unjust Enrichment Claim
             (Count VI).

      Pursuant to Rule 50(a), Alex Loukaides respectfully renews his motion for

judgment as a matter of law that he is not liable for unjust enrichment.

      In its Second Amended Complaint, Plaintiff brought a claim for unjust

enrichment based on Defendants’ creation and operation of websites “in a manner

that looks and feels the same as Plaintiff’s Website.” ECF No. 31 at ¶ 184. But a

claim for unjust enrichment requires that the plaintiff had given or provided

something of value to the defendant that requires compensation in return. See e.g.,

Vertex,    Inc.   v.   City   of   Waterbury,    278    Conn.   557,    573   (2006)

(“Unjust enrichment applies wherever justice requires compensation to be given

for property or services rendered under a contract, and no remedy is available by

an action on the contract”). To that end, “Plaintiffs seeking recovery

for unjust enrichment must prove (1) that the defendants were benefited, (2) that

the defendants unjustly did not pay the plaintiffs for the benefits, and (3) that the

failure of payment was to the plaintiffs’ detriment.” Id.


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         Furthermore, the Connecticut Civil Jury Instructions provide the following:

               Any damages you award on the plaintiff’s unjust
               enrichment claim are determined by the value of the
               benefit the plaintiff provided to the defendant. In other
               words, the amount of unjust enrichment is the value to
               the defendant of property received or services rendered
               to the defendant. The plaintiff must prove the fair and
               reasonable value of the property received or services
               rendered to the defendant. That value should be
               measured in terms of the benefit the defendant received
               by not providing proper compensation to the plaintiff for
               the property received or services rendered.

Connecticut Civil Jury Instructions, 4.5-13 (emphasis supplied). Moreover, in

Vertex, the Supreme Court of Connecticut found harmful error in the trial court

refusing to give the following instruction regarding unjust enrichment:

               To find for the plaintiff under a theory of unjust
               enrichment or quantum meruit, you must find that the
               plaintiff has provided services to the defendant, that the
               defendant benefited from these services, that the
               defendant unjustly did not pay for that benefit and that
               the defendant’s failure to pay was to the plaintiff’s
               detriment.

Vertex, 278 Conn. 557, 571 (2006) (emphasis supplied). Clearly, a claim for unjust

enrichment requires first that Plaintiff provide something of value to the Defendant.

Where, as is the case here, Plaintiff alleges that it did not provide anything to the

Defendant but instead the Defendant allegedly took something of value, there are

other civil remedies offering protection to would-be Plaintiffs. And where the thing

of value allegedly taken is intellectual property, as is the case here, there are

copyright and/or trademark claims that plaintiffs can raise (as Plaintiff has done

here).

         Plaintiff did not offer any evidence that it provided any property or services

to Mr. Loukaides for which it has not been fairly compensated and, accordingly,


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Plaintiff did not adduce sufficient evidence to demonstrate that Mr. Loukaides

should have been held liable for unjust enrichment and therefore judgment as a

matter of law should enter in his favor on the unjust enrichment claim

      Moreover, as the Civil Jury Instructions instruct, “[t]he plaintiff must prove

the fair and reasonable value of the property received or services rendered to the

defendant.” Connecticut Civil Jury Instructions, 4.5-13 (emphasis supplied).

      To the extent an unjust enrichment claim otherwise would have been allowed

to proceed in this case, judgment as a matter of law should also be entered on this

claim because Plaintiff presented no evidence regarding what a fair and reasonable

value of its allegedly infringed property would be. Mr. Albanese and Mr. Gordon

only offered an imprecise estimate that Plaintiff spent a substantial amount of time

and money on web design. See, e.g., ECF No. 113 at 78:13-16; 110:5-12; 188:10-17.

Plaintiff’s damages expert did not provide any testimony related to the fair and

reasonable value of the intellectual property allegedly infringed. This does not

come close to proving a “fair and reasonable value” by a preponderance of the

evidence. Plaintiff offered no evidence identifying each allegedly copied element

or quantifying the value of each such element. Accordingly, Plaintiff failed to

adduce sufficient evidence for a damages calculation on this count and judgment

on this count should be entered in favor or Mr. Loukaides.

                                  CONCLUSION

      Plaintiff did not put forth any evidence showing that Mr. Loukaides exercised

any control over the websites in question during the relevant time period. In fact,

the only evidence regarding “control” that was elicited during Plaintiff’s case

indicated that Mr. Seviane, and not Mr. Loukaides, was in control of Acadima LLC


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at all times. This lack of control precludes Plaintiff from piercing the corporate veil

to recover from Mr. Loukaides individually (especially since no theory of veil

piercing was actually pled). Moreover, any claim (for liability or damages) related

to GradShop.com is precluded because Plaintiff did not provide adequate notice

that it was seeking damages based on these websites. Finally, even if the Court

allowed Plaintiff to attempt to pierce the corporate veil where no claim was ever

asserted or pled, and even if GradShop.com were included (incorrectly) in the

claims for relief, Plaintiff failed to present sufficient evidence on one or more

essential elements in each of its claims. Accordingly, Judgment as a Matter of Law

in Mr. Loukaides’ favor on Count I, II, IV, V and VI in the case is appropriate for the

reasons stated herein.

      WHEREFORE, Defendant Loukaides respectfully requests that the Court

grant this Motion and enter Judgment as a Matter of Law in his favor on all counts.


      Dated: August 5, 2019                    Respectfully submitted.

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                                CERTIFICATE OF SERVICE

      I hereby certify that on August 5, 2019, a copy of the foregoing Renewed

Motion for Judgment as a Matter of Law or Alternatively for a New Trial Pursuant

to F.R.C.P. 50 was filed electronically. Notice of this filing will be sent by e-mail to

all parties by operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s CM/ECF System.

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